               Case 1:21-bk-00002        Document No. 12       Filed 09/22/21     Page 1 of 1
                                                                                          FILED
                                                                                             Clerk
                                                                                         District Court
                                                                                        SEP 22 2021
                                                                  for the Northern Mariana Islands
                                                                  By________________________
                                                                            (Deputy Clerk)
                                   IN THE UNITED STATES DISTRICT COURT
 1                                 FOR THE NORTHERN MARIANA ISLANDS
 2                                         BANKRUPTCY DIVISION

 3
                                                            Bankruptcy Case No. 1:21-bk-00002
 4
     IN RE:
 5                                                          CERTIFICATE OF MAILING
     JULIE ANN PALACIOS GUERRERO
 6
     SSN: xxx-xx-6222;
 7                                     Debtor,
 8

 9            I hereby certify that on the 22nd day of September 2021, a true and correct copy of the
10   “Order Dismissing Case Without Prejudice” was electronically served upon the following

11   using the Court's CM/ECF system:

12
        •     Office of the U.S. Trustee ustpregion15.hi.ecf@usdoj.gov
13
        •     Kathlyn Selleck cetguam@gmail.com, kselleck@ecf.axosfs.com
14
        •     Robert T. Torres on behalf of Attorney Robert T. Torres
15            rttlaw@pticom.com,semsimbmde@gmail.com;
16            dpascualrttlaw@gmail.com;robert.torres@rttlawgroup.com;bcamachorttlaw@gmail.com;
              a.arcegarttlaw@gmail.com;clizamarttlaw@gmail.com; lphrttlaw@gmail.com
17
              Further, I certify that on the 22nd day of September 2021, that a true and correct copy was
18
     mailed via U.S. Mail, first class postage prepaid and properly addressed to the debtor at
19
              Julie Ann Palacios Guerrero
20            P.O. Box 500251
              Saipan, MP 96950
21                                                         HEATHER L. KENNEDY, Clerk of Court

22                                                                                By:
     Date of Issuance: September 22, 2021                             __/s/________________
23
                                                                      Lallane Guiao, Deputy Clerk
24
